           Case 2:17-cr-00180-JAD-NJK          Document 257        Filed 01/12/18       Page 1 of 2



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 7
                                    UNITED STATES DISTRICT COURT
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                                           DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,                              )
11                                                          )
                             Plaintiff,                     )      Case No. 2:17-cr-00180-JAD-PAL
12                                                          )
     vs.                                                    )      ORDER GRANTING MOTION TO
13                                                          )      TEMPORARILY MODIFY
     DENZEL CAMPBELL,                                       )      PRETRIAL RELEASE CONDITIONS
14                                                          )
                             Defendant.                     )      (Docket No. 256)
15                                                          )
16            Pending before the Court is Defendant Denzel Campbell’s unopposed motion to temporarily
17   modify conditions of pretrial release. Docket No. 256.
18            Defendant submits that his grandmother lives in Gary, Indiana, and that his family has planned
19   a birthday party for her 95th birthday at the end of January. Id. at 2. Defendant asks the Court to modify
20   his travel restriction to allow him to travel to Indiana from January 26-28, 2018, for the purpose of
21   attending his grandmother’s party. Id. Defendant submits that his counsel has spoken to his Pretrial
22   Services Officer and to the Assistant United States Attorneys assigned to this case, and that none has
23   an opposition to this request. Id.
24   ....
25   ....
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        Case 2:17-cr-00180-JAD-NJK             Document 257        Filed 01/12/18       Page 2 of 2



 1          Accordingly, the Court GRANTS Defendant’s motion to temporarily modify his conditions of
 2   pretrial release. Docket No. 256. The Court orders that the travel restriction is temporarily modified
 3   to allow Defendant to travel from Texas to Indiana from January 26-28, 2018. No later than January
 4   19, 2018, Defendant must provide his Pretrial Services officer with all of his travel plans, including but
 5   not limited to his flight arrangements and where and with whom he will stay while he is in Indiana. All
 6   other conditions of release, as set out in Docket No. 139, remain.
 7          IT IS SO ORDERED.
 8          DATED: January 12, 2018.
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10                                                  ______________________________________
                                                    NANCY J. KOPPE
11                                                  United States Magistrate Judge
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